
929 A.2d 156 (2007)
400 Md. 397
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Wayne Isaiah McBROOM, Respondent.
Misc. Docket AG No. 93, September Term, 2006.
Court of Appeals of Maryland.
July 31, 2007.

ORDER
IRMA S. RAKER, Judge.
The parties have jointly petitioned this Court to reprimand the Respondent, Wayne Isaiah McBroom, pursuant to Maryland Rule 16-772(b). Upon review of said Joint Petition and for reasons set forth therein, it is this 31st day of July, 2007.
ORDERED, by the Court of Appeals of Maryland that the Respondent, Wayne Isaiah McBroom, be, and he is hereby, reprimanded for misconduct in violation of Maryland Rules of Professional Conduct 1.3, 1.4, 1.5(b), and 1.16(d) and 8.4(d).
